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  11

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  13
                           UNITED STATES DISTRICT COURT
  14
                          CENTRAL DISTRICT OF CALIFORNIA
  15
                                      EASTERN DIVISION
  16

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  19   Cordelia Lighting, Inc., a California         Case No. 5:14-CV-00881-JGB-SP
       corporation,
  20                                                 DECLARATION OF STEPHEN M.
                         Plaintiff,
  21                                                 LOBBIN IN SUPPORT OF
                   v.                                CORDELIA'S MOTION FOR
  22                                                 PRELIMINARY INJUNCTION
     Zhejiang Yankon Group Co., Ltd.
  23 d/b/a Energetic Lighting, a China               Date: April 27, 2015
     company, and Yankon Industries Inc.,            Time: 9:00 a.m.
  24 a California corporation,                       Ctrm: 1
  25                     Defendants.
                                                     Honorable Jesus G. Bernal
  26
       AND RELATED COUNTERCLAIMS
  27

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                                               -1-              Lobbin Decl. ISO Motion for Prelim. Injunction
                                                                              Case No. 5:14-cv-00881-JGB-SP
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   1           I, Stephen M. Lobbin, declare and state as follows:
   2           1.    I am an attorney with One LLP, counsel for Plaintiff Cordelia Lighting,
   3   Inc. (“Cordelia”) in the above-captioned action. I have personal knowledge of the
   4   facts stated herein, and if called to testify as a witness, I could and would testify
   5   competently thereto.
   6           2.    Attached hereto as Exhibit 1 is a true and correct copy of the patent-in-
   7   suit, U.S. Patent No. 8,454,204 (“the ‘204 patent”).
   8           3.    Attached hereto as Exhibit 2 is a true and correct copy of the Notice of
   9   Allowance from the U.S. Patent Office related to the ‘204 patent, dated March 5,
  10   2013.
  11           4.    Attached hereto as Exhibit 3 is a true and correct copy of Defendant
  12   Yankon Industries, Inc.’s Response to Plaintiff Cordelia Lighting, Inc.’s
  13   Interrogatories, served November 14, 2014.
  14           5.    Attached hereto as Exhibit 4 is a true and correct copy of two document
  15   pages produced in this action by Plaintiff Cordelia, labeled CL000651-652.
  16           6.    Attached hereto as Exhibit 10 is a true and correct copy of an internet
  17   web page from <i.cantonfaircn.org>.
  18           I declare under penalty of perjury under the laws of the United States of
  19   America that the foregoing is true and correct and if called to testify, I could and
  20   would competently do so.
  21           Executed on this 30th day of March, 2015, at Irvine, California.
  22

  23                                            /s/ Stephen M. Lobbin
  24

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                                                  -2-             Lobbin Decl. ISO Motion for Prelim. Injunction
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                          EXHIBIT 1
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                                                                                                        US008454204B1


  (12) United States Patent                                                         (10) Patent N0.:                   US 8,454,204 B1
         Chang et al.                                                               (45) Date of Patent:                              Jun. 4, 2013

  (54)    RECESSED LED LIGHTING FIXTURE                                                7,748,869 B2 *     7/2010 Sevack et a1. ............... .. 362/277
                                                                                      8,128,264 B2 *      3/2012   Genenbacher .............. .. 362/398
                     .                                   '                        2005/0265016 A1        12/2005   Rappaport
  (75) Inventors. SGtSh ~CI1i1ang,CRoWhlIand HelgAhtsilC'A CA                     mun/0183154 Al          8/2007 Robson
                         ( )’ “an “0 guyeni na elm’                               2007/0211475 A1         9/2007 Sevack et al.
                         (US); James Madden, Phlladelphla, PA                     2010/0290240 A1        11/2010 Genenbacher
                         (US)                                                     2011/0267827 A1*       11/2011   Wein ........................... .. 362/368

  (73) Assignee: Cordelia Lighting, Inc., Rancho                                             FOREIGN PATENT DOCUMENTS
                         Dominguez, CA (Us)                                   CA                     2738802 A1       7/2010
                                                                              *    .             .


  (*)     Notice:        Subject to any disclaimer, the term of this              cued by exammer
                         gage? llssizfslideg g; adjusted under 35             Primary Examiner * Natalie Walford
                           ' ' '           y       ys'                        (74) Attorney, Agent, or Firm * Paul Y. Feng; The Eclipse
  (21) Appl. No.: 13/338,191                                                  Group LLP
  (22) Filed:            Dec. 27, 2011                                        (57)                         ABSTRACT
                                                                              A recessed lighting ?xture providing illumination from a
  (51) Int- Cl-                                                               light source including a plurality of light emitting diodes
       F21 V 29/00                    (2006-01)                               (LEDs) Wherein the ?xture is placed Within the ceiling space
  (52)    US. Cl.                                                             above a ceiling panel or Wall. The ?xture has a loW aspect
          USPC ............................ .. 362/294; 362/257; 362/ 92      ratio heat sink. An interchangeable trim ring has an integrated
  (58)    Field of Classi?cation Search                                       light re?ector and attaches to the bottom of the heat sink via
          None                                                                rare earth or super magnets. A ?ange of the heat sink and a ?at
          See application ?le for complete search history.                    annular surface of the trim ring engage each other, providing
                                                                              a large contact surface to enable conductive heat transfer. The
  (56)                     References Cited                                   ?ange and ?at annular surface are located beloW the ceiling
                                                                              panel, Which is at room temperature to help cool the recessed
                    U-S- PATENT DOCUMENTS                                     LED lighting ?xture through radiation and air convection.
         7,145,179 B2       12/2006 Petroski
         7,399,104 B2 *      7/2008 Rappaport .................. .. 362/365                     20 Claims, 6 Drawing Sheets




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                                                        FIG.6


                                                        FIG.5
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                                                     FIG.8
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                                                         US 8,454,204 B1
                                 1                                                                        2
          RECESSED LED LIGHTING FIXTURE                                    a ceiling panel, the lighting ?xture comprising a cylindrical
                                                                           shaped heat sink having a loW aspect ratio such that the height
                          BACKGROUND                                       is less than the diameter, the heat sink having a top and a
                                                                           bottom, an open center at the top leading to a cavity facing the
    The present invention relates generally to lighting ?xtures            bottom, the cavity having a sloped Wall, the heat sink having
  and, more particularly, to a LED recessed lighting ?xture that           a ?ange at the bottom extending radially outWard and de?ning
  provides improved heat dissipation.                                      a ?at surface at the bottom. The heat sink includes heat ?ns
    Recessed lighting ?xtures are Well knoWn in the art. Ide               disposed at the top and outer circumference. The light source
  ally, such ?xtures are designed to be visually unobtrusive in            is preferably an array of Light Emitting Diodes (LEDs). An
  that very little of the lighting ?xture is visible from beloW the        LED driver having an electrical cable extending therefrom is
  ceiling. HoWever, some trim portions are visible as Well as the          disposed generally on top of the heat ?ns leaving an air gap
  light sources. An opening is cut into the ceiling into Which             betWeen the LED driver and the heat ?n in the spaces betWeen
  most of the lighting ?xture is mounted so that very little
                                                                           the heat ?ns. An LED array emitting visible light is electri
  extends beloW the plane of the ceiling. A trim piece or trim
                                                                           cally connected to the LED driver and disposed at the open
  ring, Which may take the form of a beZel, is generally located
  at the opening to enhance the appearance of the light ?xture             center, facing doWnWard to emit light out of the recessed
  and conceal the hole cut into the ceiling. Typically, the trim           ?xture.
  piece is slightly beloW the planar surface of the ceiling.                  The lighting ?xture includes an interchangeable trim ring
     Such beZels or other types of trim pieces also include                having an open center With a sloped Wall de?ning a re?ector
  insulation located betWeen the trim piece and the ceiling. In       20   that is covered in a light re?ective material, Wherein the
  many cases, recessed lighting ?xtures are installed in holes in          re?ector overlies the sloped Wall of the cavity. The trim ring
  ceilings Where the temperature is much different from that of            further includes a ?at annular surface engaging the ?at sur
  the room into Which the light ?xture provides illumination.              face of the heat sink ?ange for thermal conduction therebe
  The insulation tends to oppose changes of the room tempera               tWeen to reduce heat generated by the LED driver and LED
  ture due to the hole cut in the ceiling for the lighting ?xture.    25   array.
    Although described in a ceiling embodiment, such lighting                The trim ring at the ?at annular surface and the heat sink
  ?xtures are also used in Walls in both dWelling structures and           ?ange are located beloW the ceiling panel or planar surface,
  in automobiles, in numerous commercial building applica                  such that the structure is exposed to cooler ambient room air,
  tions, and in many other applications like an RV, custom                 versus above the ceiling panel or planar surface, Which area is
  homes, etc. Such lighting ?xtures are generally referred to         30   typically a closed space Where ambient heat can build up. The
  herein as “recessed.”                                                    heat sink, ?ns, ?ange, and trim ring should be conducive to
    Different light sources are used for recessed lighting ?x              heat transfer to help dissipate heat of the lighting ?xture via
  tures. Some light sources generate substantial amounts of                conduction, convection, and radiation
  heat, so much so that the rating of the light ?xture must be               One or more rare earth magnets are used to attach the ?at
  displayed and Warnings given that light sources above a cer         35   annular surface of the trim ring to the ?at surface of the heat
  tain Wattage could pose an overheating problem and are not to            sink ?ange. As such, portions or all of the trim ring and heat
  be used. HoWever, in some cases, the lighting ?xture must be             sink ?ange should be made from magnetically attractive
  located a substantial distance aWay from the object to be                material, or be ferromagnetic.
  illuminated and higher Wattage light sources are necessary to               In various embodiments, the recessed lighting ?xture uses
  develop the amount of illumination needed. Such Wattage             40   an electrical cable that includes a detachable Edison screW
  limits imposed by the lighting ?xtures can undesirably limit             plug. Thus, the recessed lighting ?xture may be used to ret
  the amount of light furnished by the ?xture. For example,                ro?t an existing incandescent light ?xture that has an Edison
  lighting ?xtures located in higher ceilings, Which are more              screW socket in place.
  common today, or lighting ?xtures that are meant to shine at               Further, the open center of the heat sink at the bottom may
  an angle other than perpendicular to illuminate an object, may      45   include a lens enclosing the LED array to help diffuse or
  not provide enough light for the object if loWer Wattage light           diffract the light for a softer lighting effect. In the preferred
  sources must be used. Consequently, lighting ?xtures able to             embodiment, the recessed lighting ?xture uses rare earth
  accommodate higher heat levels are desired in such situa                 magnet such as a neodymium magnet. Also, the heat sink is
  tions. Such lighting ?xtures must be able to dissipate                   preferably made from cast aluminum to alloW better heat
  increased levels of heat to avoid a haZard.                         50   transfer through conduction, for example.
    Typically used in conjunction With a recessed lighting ?x                 These and other aspects, features, and advantages of the
  ture is a “can” or housing, Which is ?xedly mounted into the             present invention Will become apparent from the folloWing
  ceiling through the ceiling panel opening. Such housings are             detailed description of the preferred embodiments Which,
  generally metallic and thermally conductive. They also are               taken in conjunction With the accompanying draWings, illus
  generally connected to electrical earth ground. A “trim unit,”      55   trate by Way of example the principles of the invention.
  Which may include one or more light sources, a trim ring, and
  other devices to provide the aesthetic design and lighting                        BRIEF DESCRIPTION OF THE DRAWINGS
  functions is mounted Within the housing. Various trim units
  may be available for mounting Within any one housing. The                  FIG. 1 is a top perspective vieW of a preferred embodiment
  trim unit typically receives the light bulb or other light source   60   of the present invention recessed LED lighting ?xture;
  or sources and provides the necessary electrical poWer to                   FIG. 2 is a top perspective vieW of the lighting ?xture from
  them for illumination.                                                   FIG. 1 With the interchangeable trim ring detached and gasket
                                                                           loose around the ?xture;
              SUMMARY OF THE INVENTION                                       FIG. 3 is a bottom-looking-up perspective vieW of the
                                                                      65   preferred embodiment lighting ?xture from FIG. 1 in use,
     The present invention in a preferred embodiment is                    Wherein the ?xture is installed inside a can and positioned in
  directed to a recessed lighting ?xture located in an opening in          an opening of a ceiling panel;
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                                                        US 8,454,204 B1
                                 3                                                                        4
    FIG. 4 is an enlarged, detail vieW of the preferred embodi              FIG. 3 depicts the present invention lighting ?xture 10
  ment heat sink and surrounding structures;                              from undemeath-looking-up, as used in a retro?t application.
    FIG. 5 is a bottom perspective vieW of the lighting ?xture            The lighting ?xture 10 is installed inside a housing or “can”
  from FIG. 1 With the interchangeable trim ring detached;                26 already in place in the home that is being retro?tted. The
    FIG. 6 is an isolated vieW of the bottom portion of an           5    can 26 is a standard piece of hardWare in residential home and
  alternative lighting ?xture With a tWist lock interchangeable           commercial building construction that contains the recessed
  trim ring;                                                              lighting ?xture, Which historically uses an incandescent bulb.
     FIG. 7 is a cross-sectional vieW of the lighting ?xture taken        The can is typically cylindrical in shape With a closed end and
  at about line A-A of FIG. 1;                                            an open end, Wherein the lighting ?xture is mounted to the
                                                                          interior While electrical cables and ?xture hardWare are
     FIG. 8 is a bottom perspective vieW of the lighting ?xture
                                                                          attached to the exterior.
  With the lens cover removed and the LED array disassembled;
                                                                             FIG. 3 shoWs the ?xture 10 connected to the Edison socket
  and
                                                                          30 already present inside the can 26 to poWer the neW ?xture
    FIG. 9 is a top-looking-doWn perspective vieW of the light            10. Spring clips 32 extending outWard from the heat sink 16
  ing ?xture of FIG. 1 Wherein the LED driver is disassembled             snap into complementary receiving slots or ledges inside the
  from the heat sink, and the Edison plug has been detached               can 26 to hold the ?xture 10 to the can 26.
  from the electrical connection.                                            The short, cylindrical heat sink 16 preferably includes a
                                                                          radial, annular ?ange 34 around the circumference at its bot
     DETAILED DESCRIPTION OF THE PREFERRED                                tom. The heat sink ?ange 34 has a ?at, top annular surface 36
                 EMBODIMENTS                                         20   (FIG. 2) and a ?at, bottom annular surface 38 (FIG. 3). The
                                                                          gasket 24 rests on the top annular surface 36. The bottom
    The present invention in various preferred embodiments is             annular surface 38 ?ts ?ush against a ?at annular top surface
  directed to a recessed lighting ?xture that uses a LED as the           of the trim ring 28. Magnets 40 are embedded into the bottom
  light source to conserve energy and for long life of the light          annular surface 38.
  source as compared to, for example, incandescent bulbs. The        25      FIG. 3 further shoWs the LED lighting ?xture 10 installed
  present invention light ?xture can be installed in a residential        to a permanent ceiling dryWall, ceiling tile or panel, or like
  neW construction or used to retro?t a pre-existing home or              planar surface 42, found in typical residential homes or com
  building that has recessed lighting ?xtures.                            mercial construction. The ceiling panel or planar surface 42
     FIG. 1 is a perspective vieW of a preferred embodiment               separates the living space of the room beloW it from the attic
  recessed lighting ?xture 10. The lighting ?xture is has a LED      30   or air space above it Where electrical cables, insulation, and
  light source that is poWered by an LED driver 12, Which is the          HVAC ducting are contained.
  poWer supply and voltage control for the LED light source. In             In the preferred embodiment, the heat sink ?ange 34 is
  normal operation, the LED light source and the LED driver 12            strategically located beneath the ceiling panel or planar sur
  generate a lot of heat, so a heat sink16 is used to conduct and         face 42. This is best seen in FIG. 3. FIG. 4 is a side elevational
  dissipate heat from both. An electrical connection or poWer        35   vieW of the structures in FIG. 3, partially in cross-section.
  cables 18 supplies electrical poWer to the LED driver 12. The           FIG. 4 shoWs the can 26 and the light ?xture 10 generally
  poWer cables 18 terminate in an Edison type screW plug 20.              situated in the traditional arrangement above the ceiling panel
  This Edison screW plug 20 alloWs the lighting ?xture 10 to              or planar surface 42, While the heat sink ?ange 34 protrudes
  replace an incandescent bulb inside a preexisting lighting              beloW the planar surface 42. Feet 48 on the outside of the can
  ?xture. In such a retro?t, the preexisting incandescent bulb is    40   26 help stabiliZe it on top of the ceiling panel or planar surface
  removed and the Edison screW plug 20 is screWed into the                42.
  Edison bulb socket. The poWer cables 18 also include a snap               In FIG. 4, the heat sink ?ange 34 is situated completely
  lock connector 22 for the end user or electrician to disconnect         beloW the level of the ceiling panel or planar surface 42. The
  the Edison screW plug 20 from the lighting ?xture 10. This is           gasket 24 rests atop the ?ange 34 on its top annular surface 36
  for neW construction Where no Edison screW-type socket is          45   (FIG. 2) and abuts the underside of the ceiling panel or planar
  needed, so the Edison plug 20 can be detached. Once                     surface 42 (FIG. 4). The gasket 24 creates a generally air-tight
  detached, the snap lock connector 22 or its poWer cables 18             seal betWeen the top annular surface 36 of the ?ange 34 and
  can be directly connected to the standard household Wiring.             the ceiling panel 42. The interchangeable trim ring 28
     FIGS. 1 and 2 shoW that the lighting ?xture 10 includes an           engages the bottom annular surface 38 of the heat sink ?ange
  optional annular-shaped gasket 24 to seal the environment          50   34. A plurality of magnets 40 attaches the trim ring 28 to the
  beloW the ceiling panel from above the ceiling panel. An end            ?ange 34.
  user interchangeable trim ring 28 is shoWn attached to the                FIG. 4 thus shoWs the division by the ceiling panel or
  bottom of the lighting ?xture 10 in FIG. 1 and detached in              planar surface 42 of the ceiling space into the living area 44
  FIG. 2. The trim ring 28 faces doWnWard Where the trim ring             beloW and the air space or attic 46 above. Ambient tempera
  28 is visible to the end use, presumably the homeoWner, so the     55   tures generated inside the can 26 is generally 70 degrees C. or
  interchangeability feature enables the homeoWner to select              higher. Depending on season, climate, geographic region,
  the style to match the color and decor of the room. The                 thermostat setting in the room, ambient temperature in the air
  interchangeable trim ring 28 can be made in different ?nishes,          space or attic 46 above the ceiling panel 42 can reach over 100
  designs, shapes, siZes, etc. Its surface ?nish can be painted,          degrees C. Typical room temperature in the living area 44
  anodiZed, and/or electroplated to offer a variety of ?nishes.      60   beloW the ceiling panel 42 is about 25 degrees C. or loWer.
  Accordingly, the homeoWner can select from the store the                Therefore, by locating the heat sink ?ange 34, Which is a large
  trim rings 28 that best match his or her home’ s decor and color        body of material of the heat sink 16, beloW the ceiling panel
  scheme. To enable this interchangeability, the trim rings 28            or planar surface 42, the heat generated from the LED light
  are preferably attached to the lighting ?xture 10 via magnets           source and LED driver can be dissipated by conduction
  (described in detail beloW), so attaching or detaching the trim    65   through the heat sink 1 6, then via radiation and air convection
  ring 28 is easily accomplished by the homeoWner Without                 at the ?ange 34. Because the ambient temperature in the living
  need for any tools or manipulation of complicated hardWare.             area 44 beneath the ceiling panel or planar surface 42 is on
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                                  5                                                                         6
  average about 45 degrees C. below that of the attic or air space          and overlies a portion of the interior sloped Wall of the cavity
  46 above the ceiling panel 42, heat transfer and heat dissipa             68 inside the heat sink 16. This contact area further enhances
  tion are greatly facilitated by this arrangement.                         conduction of heat from the heat sink 16 to the trim ring 28,
     The trim ring 28 is in direct contact With the heat sink               Where the cone component 58 then dissipates the heat.
  ?ange 34 over a large surface area that is the bottom annular                In FIG. 7, the interior of the cone component/sloped Wall
  surface 38. Through thermal conduction at these contact sur               58 directly surrounding the lens 54 may be layered or coated
  faces, the trim ring 28 also acts as a heat sink and further helps        With light re?ective material, so that the sloped Wall 58 acts as
  dissipates LED and LED driver generated heat through radia                a re?ector for the lighting ?xture 10. Thus, the preferred
  tion and air convection to the ambient living area environment            embodiment trim ring 28 functions as (a) an aesthetic ?nish
  44, Which is at 25 degrees C. or loWer. Because of its relatively
                                                                            for the lighting ?xture 10, (b) a light re?ector, and (c) a heat
  large surface area being exposed to the cooler environment
                                                                            sink. The trim ring 28, to be attracted by the magnet 40,
  beneath the ceiling panel 42, the trim ring 28 functions effec
                                                                            preferably includes a ferromagnetic material. It is preferably
  tively to dissipate heat. Through empirical observations, the
  above-described cooling mechanism loWers LED case tem                     made from stamped steel, alloWing it to be attracted by the
  perature. As a result, the LED light source When properly                 magnets and also functioning Well as a heat conductor. Its
  cooled emits a higher luminance for a given Wattage and                   surfaces can be treated, coated, painted, etc. for the customer
  enjoys a prolonged duty life.                                             desired aesthetics and to function as a light re?ector. The trim
    FIG. 7 is a cross-sectional vieW of the lighting ?xture 10              ring in alternative embodiments may be a composite With a
  taken along line A-A of FIG. 1. FIGS. 7 and 8 shoW the                    steel or iron skeleton and a plastic molded shell or facade. Or
  preferred embodiment lighting ?xture 10 having the LED               20   the entire trim ring may be plastic, ?berglass, etc ., and patches
  driver 12 mounted atop the heat sink 16. The heat sink 16 has             of ferromagnetic material are embedded into the trim ring.
  a cylindrical shape With a holloW center or cavity 68 and an                 The permanent magnets 40 used to join trim ring 28 and
  open bottom, and the inner Wall of this cavity 68 is sloped.              heat sink ?ange 34 are preferably a type of samarium-cobalt
  The LED light source, here an LED array 14, is mounted on                 magnet, a neodymium magnet, a ceramic/ferrite magnet, or
  the bottom side of the heat sink 16 Within the cavity 68. The        25   an alnico magnet. The preferred embodiment uses the neody
  heat sink 16 preferably has a very loW aspect ratio such that its         mium magnet or samarium-cobalt magnet, generally knoWn
  diameter is greater than its height, making it very loW pro?le.           as “rare earth” magnets. Most preferably, the neodymium
  This loW pro?le LED lighting ?xture 10 alloWs it to be                    magnet (an NdFeB alloy), also knoWn as a “super magnet,” is
  installed in a variety of preexisting can siZes, including cans           chosen because of its high remanence (magnetic ?eld
  that have a shalloW depth.                                           30   strength) and high coercivity (resistance to being demagne
     FIG. 9 shoWs the heat sink 16 having a plurality of heat               tiZed). These characteristics are preferred because the mag
  dissipation ?ns 50 extending radially along the outer circum              nets 40 are used in a harsh environment by being attached to
  ferential Wall of the heat sink 16 and on top of the heat sink 16.        a part of a heat sink, speci?cally, the heat sink ?ange 34. From
  The LED driver 12 preferably mounts on top of the heat sink               the LED lighting ?xture being turned on and off in normal
  ?ns 50, thereby leaving air gaps 52 betWeen the ?ns 50 and           35   use, there is cyclic heating and cooling of the heat sink ?ange
  betWeen the LED driver 12 and the top of the heat sink 16. The            34 and correspondingly the magnet 40. Hence, through
  air gaps 52 are in ?uid communication With each other, and                empirical observation, the neodymium magnet is preferred
  can be seen in FIGS. 4, 7, and 9. Via empirical observations,             for use With the present invention LED lighting ?xture.
  the air gaps 52 provide air movement therethough and expose                 Further, the strong magnetic ?eld of the neodymium mag
  more surface area of the LED driver 12 to the ambient air,           40   net provides the end user With a positive engagement and
  Which enhances air convection cooling.                                    perceived mechanical lock When the trim ring is installed. The
     As best seen in the cross-sectional vieW of FIG. 7, the heat           attachment of the trim ring Will not loosen or self detach over
  sink 16, ?ns 50, and ?ange 34 are all preferably formed from              time.
  one unitary piece of material for the most ef?cient thermal                  FIG. 5 shoWs the preferred embodiment Where the trim
  conduction of heat from the LED array 14 and the LED driver               ring 28 is attached to the LED lighting ?xture 10 by use of
  12 to the ?ns 50 and ?ange 34. Cast aluminum is preferably                magnets 40. FIG. 6 is an alternative embodiment Where the
  used for the heat sink, ?ns, and ?ange. Steel and iron alloys             trim ring 60 is attached mechanically to the LED lighting
  may be used as Well.                                                      ?xture 10. This embodiment employs a tWist lock. Here, the
     FIGS. 7 and 8 shoW the LED array 14 and LED driver 12.                 interior of the heat sink 16 includes a ledge 62 and the trim
  As is recogniZed in the art, they generate heat. To help dissi       50   ring 60 has a lip 64 With a cutout 66 that receives the ledge 62.
  pate this heat, they are directly attached to the heat sink 16.           The trim ring 60 is pushed against the ?xture so that the ledge
  The LED array 14 faces and emits visible light through the                passes through the cutout 66, then tWisted so the ledge 62 is no
  cavity 68 in the heat sink 16 doWnWard into the living space              longer aligned With the cutout 66. The ledge 62 is thus cap
  44 beloW. An optional lens cover 54 softens and/or diffuses               tured by the lip 64 so the trim ring 60 cannot detach from the
  the light emitted by the LED array 14 and ?ts inside the cavity      55   ?xture. The lip 64 may optionally have a slight incline as in a
   68.                                                                      screW thread to help advance the trim ring 60 into the lighting
     The interchangeable trim ring 28 has a relatively large                ?xture 10 for a tighter ?t.
  mass and surface area, as seen in FIGS. 2, 3, and 7, to enhance             Although the present invention has been described in terms
  heat dissipation. This large mass and large surface area of the           of certain preferred embodiments, other embodiments that
  trim ring 28, in the preferred embodiment, are composed of an             are apparent to those of ordinary skill in the art are also Within
  outer ring component 56 and an inner frusto-conical cone                  the scope of the invention. Components and features of one
  component 58.                                                             embodiment may be combined With other embodiments.
    As best seen in FIG. 7, the top surface of the outer ring               Accordingly, the scope of the invention is intended to be
  component 56 engages the bottom annular surface 38 of the                 de?ned only by reference to the appended claims. While
  heat sink ?ange 34, Which is conducive to heat transfer. The         65   variations have been described and shoWn, it is to be under
  inner frusto-conical cone component 58 is a sloped Wall that              stood that these variations are merely exemplary of the
  leads up to the lens cover 54. The cone component 58 abuts                present invention and are by no means meant to be limiting.
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                                                         US 8,454,204 B1
                                  7                                                                      8
      We claim:                                                              Wherein the heat sink, ?ns, and ?ange include a heat dis
      1. A recessed lighting ?xture located in an opening of a                  sipating and conductive material;
   surface, the surface having an outer side and an inner side, the          at least one magnet disposed on the ?rst annular surface of
  recessed lighting ?xture comprising:                                          the ?ange;
     an LED driver having a poWer cable;                              5      an interchangeable trim ring With an open center, a top and
     an LED array disposed underneath the LED driver and                       a bottom, including a heat dissipating and conductive
        connected thereto;                                                     material and a magnetically attractive material, and fur
     a heat sink having a cylindrical body With a top and an open              ther includes a ?at, second annular surface at the top that
        bottom, the top receiving the LED driver and LED array                  abuts against the ?rst annular surface of the ?ange for
        disposed at the open bottom, Wherein a plurality of heat                thermal conduction, and attaching thereto via at least the
        ?ns extend radially from the heat sink, and Wherein a
                                                                                magnet, the trim ring further including a sloped Wall
        radial ?ange circumscribes the bottom of the heat sink
                                                                                surrounding the open center having a light re?ective
        and de?nes a ?at, ?rst annular surface, Wherein the heat
        sink, ?ns, and ?ange include a heat dissipating and con                 surface; and
        ductive material;                                                    Wherein the heat sink ?ange and the trim ring are located at
     at least one magnet disposed on the ?rst annular surface of                the outer side of the surface.
        the ?ange;                                                           11. The recessed lighting ?xture of claim 10, Wherein the
     an interchangeable trim ring With an open center, a top and           interchangeable trim ring at the bottom includes a decorative
        a bottom, the trim ring including a heat dissipating and           surface treatment.
        conductive material and a magnetically attractive mate        20     12. The recessed lighting ?xture of claim 10, Wherein the
        rial, and further including a ?at, second annular surface          magnet includes a rare earth magnet.
        at the top that abuts the ?rst annular surface of the ?ange          13. The recessed lighting ?xture of claim 10, Wherein an air
       for thermal conduction therebetWeen, the ?rst and sec               tight gasket is disposed on top of the ?ange of the heat sink.
       ond surfaces joined via at least the magnet; and                       14. The recessed lighting ?xture of claim 10, Wherein the
     Wherein the ?ange of the heat sink and the trim ring are         25   poWer cable includes a detachable Edison screW plug.
       located at the outer side of the surface.                             15. The recessed lighting ?xture of claim 14, Wherein the
     2. The recessed lighting ?xture of claim 1, Wherein the               poWer cable includes a snap lock connector to connect and
  ?xture includes a plurality of magnets recessed into the ?ange           disconnect the Edison screW plug.
  of the heat sink.                                                          16. A recessed lighting ?xture located in an opening in a
     3. The recessed lighting ?xture of claim 1, Wherein heat         30
                                                                           ceiling panel, the lighting ?xture comprising:
  sink, ?ns, and ?ange are formed from an single, integral piece             a cylindrical shaped heat sink having a loW aspect ratio
  of heat dissipating and conductive material.
                                                                                such that the height is less than the diameter, the heat
     4. The recessed lighting ?xture of claim 3, Wherein the ?at,
  second annular surface of the trim ring toWard the open center                sink having a top and a bottom, an open center at the top
  transitions into a frusto-conical Wall.                             35
                                                                                leading to a cavity facing the bottom, the cavity having a
     5. The recessed lighting ?xture of claim 4, Wherein the                    sloped Wall, the heat sink having a ?ange at the bottom
  frusto-conical Wall at the bottom of the trim ring is coated                  extending radially outWard and de?ning a ?at surface at
  With a light re?ective material.                                              the bottom;
     6. The recessed lighting ?xture of claim 1, Wherein the                 heat ?ns disposed at the top and outer circumference of the
  bottom of the trim ring is at least one of electro-plated, anod     40        heat sink;
                                                                             an LED driver having an electrical cable, Wherein the LED
  iZed, and painted.
     7. The recessed lighting ?xture of claim 1, Wherein the                   driver is disposed on the heat ?ns leaving an air gap
  magnet is selected from the group consisting of a samarium                   betWeen the LED driver and the heat ?n;
  cobalt magnet, a neodymium magnet, a ceramic/ ferrite mag                  an LED array electrically connected to the LED driver and
  net, or an alnico magnet.                                           45
                                                                                disposed at the open center;
     8. The recessed lighting ?xture of claim 1, Wherein the heat            an interchangeable trim ring having an open center With a
  sink includes a material selected from the group consisting of                sloped Wall de?ning a re?ector that is covered in a light
                                                                                re?ective material, Wherein the re?ector overlies the
  aluminum, steel, cast iron, or ceramic.
     9. The recessed lighting ?xture of claim 1, Wherein the trim               sloped Wall of the cavity, the trim ring further including
  ring includes a sloped Wall surrounding the open center and         50
                                                                                a ?at annular surface engaging the ?at surface of the heat
  the sloped Wall includes a light re?ective surface.                           sink ?ange for thermal conduction therebetWeen,
      10. A recessed lighting ?xture located in an opening of a              Wherein the trim ring at the ?at annular surface and the heat
   surface, the surface having an outer side and an inner side, the             sink ?ange are disposed beloW the ceiling panel; and
  recessed lighting ?xture comprising:                                       a rare earth magnet attaching the ?at annular surface of the
     an LED driver having a poWer cable;
                                                                                trim ring to the ?at surface of the heat sink ?ange.
     an LED array disposed underneath the LED driver and                     17. The recessed lighting ?xture of claim 16, Wherein the
                                                                           electrical cable includes a detachable Edison screW plug.
        connected thereto;
     a heat sink having a cylindrical body With a top and an open            18. The recessed lighting ?xture of claim 16, Wherein the
        bottom, Wherein a plurality of heat ?ns extend radially            open center include a lens enclosing the LED array.
        from and above the heat sink such that the LED driver         60
                                                                             19. The recessed lighting ?xture of claim 16, Wherein the
        rests on top of the heat ?ns leaving a plurality of open           rare earth magnet includes a neodymium magnet.
        spaces therebetWeen, and Wherein a radial ?ange cir                  20. The recessed lighting ?xture of claim 16, Wherein the
        cumscribes the bottom of the heat sink and de?nes a ?at,           heat sink includes cast aluminum.
        ?rst annular surface;                                                                    *   *   *     *   *
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                          EXHIBIT 2
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                          EXHIBIT 3
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 8     and YANKON INDUSTRIES INC.
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                EASTERN DIVISION
12                                            )
13     CORDELIA LIGHTING, INC., a             )   Civil Case No. 14 CV 00881 JGB(SPx)
       California corporation,
                                              )
14
             Plaintiff,                       )   DEFENDANT YANKON
15                                            )   INDUSTRIES INC.’S RESPONSE
             v.
16
                                              )   TO PLAINTIFF COREDLIA
       ZHEJIANG YANKON GROUP                  )   LIGHTING, INC.’S
17     CO., LTD. D/B/A ENERGETIC              )   INTERROGATORIES
       LIGHTING, a China company, and
18     YANKON INDUSTRIES INC., a              )
       California corporation,                )   (SET ONE)
19                                            )
             Defendants.
20                                            )
                                              )
21     ZHEJIANG YANKON GROUP                  )
       CO., LTD. D/B/A ENERGETIC
22     LIGHTING, a China company, and         )
       YANKON INDUSTRIES INC., a              )
23     California corporation,                )
24           Counterclaimants,                )
25                                            )
             v.                               )
26                                            )
       CORDELIA LIGHTING, INC., a
27     California corporation,                )
             Counter-defendant.               )
28
                                                            Civil Case No. 14 CV 00881 JGB (SPx)
                                      DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                             PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     PROPOUNDING PARTY: CORDELIA LIGHTING, INC.
 2     RESPONDING PARTY: YANKON INDUSTRIES, INC
 3     SET NUMBER: One (1)
 4
 5           Pursuant to Fed.R.Civ.P. 26 and 33, defendant Yankon Industries, Inc.
 6     (“Responding Party”) responds to the interrogatories of Plaintiff Coredlia Lighting,
 7     Inc. (“Propounding Party”) as follows:
 8
 9                              PRELIMINARY STATEMENT
10           Responding Party has not yet completed is investigation relating to the facts
11     of this action and has not completed discovery in this action. The responses
12     provided herein are based upon the information presently available to Responding
13     Party. Responding Party reserves the right to amend or further supplement its
14     responses. Responding Party reserves the right to object to any interrogatory on
15     any grounds. Responding Party reserves the right to object to the use of the
16     information provided in the response to any interrogatory. Responding Party has
17     made a good faith and reasonable efforts to respond to each interrogatory to the
18     extent Responding Party understands the interrogatories. To the extent any
19     interrogatory requires Responding Party to investigate information required for a
20     response, Responding Party has exercised reasonable diligence to obtain any such
21     information.
22           Consistent with its obligations pursuant to the Federal Rules of Civil
23     Procedure and in a good faith attempt to respond, Responding Party has contacted
24     those persons and made a duly diligent search of those records most reasonably
25     believed to possess or contain information responsive to any individual
26     interrogatory. Responding Party’s responses are complete to the extent reasonably
27     achievable but Responding Party does not, and could not possibly, represent that
28     these responses reflect or include “all” potentially responsive information located
                                                              Civil Case No. 14 CV 00881 JGB (SPx)
                                        DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                               PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     anywhere accessible to Responding Party. Rather, the scope of the investigation
 2     being conducted to locate responsive information has been limited to making
 3     inquiries to those individuals most likely to be knowledgeable about the specific
 4     matters at issue, and to reviewing Responding Party’s files in which information
 5     related to such matters ordinarily would be expected to be found.
 6           By making these responses, Responding Party does not concede that the
 7     information sought is relevant. Responding Party makes these responses without
 8     in any way intending to waive or waiving, but on the contrary, intending to
 9     preserve and preserving: (a) the right to object on any grounds to the use or
10     introduction into evidence of the information provided in response to the
11     Interrogatories; (b) the right to object to the use of these responses in any
12     subsequent proceeding in, or the trial of, this or any other action on any grounds;
13     (c) the right to object to the introduction of these responses into evidence; and (d)
14     the right to object on any ground at any time to other interrogatories or other
15     discovery involving the subject matter thereof.
16           Responding Party has made reasonable efforts to respond to each
17     interrogatory to the extent it has not been objected to, as Responding Party
18     understands and interprets the interrogatory. To the extent that Propounding Party
19     asserts an interpretation of any interrogatory that is inconsistent with Responding
20     Party’s understanding, Responding Party reserves the right to amend or supplement
21     its objection and/or responses.
22
23                                  GENERAL OBJECTION
24           1.     Responding Party objects to each interrogatory to the extent that it
25     seeks information that constitutes attorney-client privilege, the attorney work
26     product privilege, confidential information, or information protected by a right to
27     privacy. Nothing contained in these responses is intended, nor shall it in any way
28
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
                                               -3-
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 1     be deemed as, a waiver of any applicable privilege, doctrine, right to privacy, or
 2     related right.
 3            2.        Responding Party objects to each interrogatory to the extent that they
 4     require Responding Party to undertake any obligations broader than, or
 5     inconsistent with the Federal Rules of Civil Procedure.
 6            3.        Responding Party objects to each interrogatory to the extent it is
 7     overly broad and unduly burdensome and seeks information that is neither relevant
 8     nor reasonably calculated to lead to the discovery of admissible evidence.
 9            4.        Responding Party hereby incorporates this General Objection into
10     each of the Reponses set forth below, as if set out in full.
11
12                            RESPONSES TO INTERROGATORIES
13     INTERROGATORY NO. 1:
14            Explain in detail the relationship between co-Defendants Yankon Industries,
15     Inc. and Zhejiang Yankon Group Co., Ltd., including whether or not the former is
16     a wholly-owned subsidiary of the latter, and including identifying any relevant
17     documents including e-mails.
18     RESPONSE TO INTERROGATORY NO. 1:
19            Responding Party incorporates by reference the General Objection and
20     Preliminary Statement contained herein. Responding Party objects to the
21     interrogatory as vague and ambiguous as to the term “in detail” as the level of
22     “detail” is not specified. Responding Party objects to the extent the interrogatory
23     seeks information that constitutes confidential, privileged, proprietary, or trade
24     secret information and/or invades the privacy of a person not a party to this action.
25     Responding Party objects to the interrogatory as compound. Subject to and
26     without waiving these objections and in the interest of compromise, Responding
27     Party responds as follows:
28
                                                                  Civil Case No. 14 CV 00881 JGB (SPx)
                                            DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                   PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1           Yankon Industries, Inc. is a wholly owned subsidiary of Zhejiang Yankon
 2     Group Co., Ltd.
 3
 4     INTERROGATORY NO. 2:
 5           Explain in detail the circumstances of Yankon’s first awareness of the ‘204
 6     patent-in-suit, including identifying all individuals involved and any relevant
 7     documents including e-mails.
 8     RESPONSE TO INTERROGATORY NO. 2:
 9           Responding Party incorporates by reference the General Objection and
10     Preliminary Statement contained herein. Responding Party objects to the
11     interrogatory as vague and ambiguous as to the term “in detail” as the level of
12     “detail” is not specified. Responding Party objects to the extent the interrogatory
13     seeks information that constitutes confidential, privileged, proprietary, or trade
14     secret information and/or invades the privacy of a person not a party to this action.
15     Responding Party objects to the interrogatory as compound. Subject to and
16     without waiving these objections and in the interest of compromise, Responding
17     Party responds as follows:
18           Responding Party became first aware of U.S. Patent No. 8,454,204 on
19     August 22, 2013, when it commissioned a patent search through counsel. All
20     documents and communications responsive to this interrogatory are attorney-client
21     privileged.
22
23     INTERROGATORY NO. 3:
24           Identify all entities or individuals with whom anyone from Yankon has
25     discussed this lawsuit or the ‘204 patent, including but not limited to discussions
26     with Yankon’s customers, potential customers, vendors, partners, affiliates, or co-
27     Defendant Zhejiang Yankon Group Co., Ltd., and including identifying any
28     relevant documents including e-mails.
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     RESPONSE TO INTERROGATORY NO. 3:
 2           Responding Party incorporates by reference the General Objection and
 3     Preliminary Statement contained herein. Responding Party objects to the extent
 4     the interrogatory seeks information that constitutes confidential, privileged,
 5     proprietary, or trade secret information and/or invades the privacy of a person not a
 6     party to this action. Responding Party objects to the interrogatory as compound.
 7     Subject to and without waiving these objections and in the interest of compromise,
 8     Responding Party responds as follows:
 9           Stewart Walsh, Walsh IP, LLC and Guillermo E. Baeza, Senior Counsel,
10     Lowe’s Companies, Inc.
11           All documents and communications responsive to this interrogatory are
12     attorney-client privileged.
13
14     INTERROGATORY NO. 4:
15           Explain in detail Yankon’s proposed claim construction concerning the ‘204
16     patent, including identifying any relevant documents including e-mails.
17     RESPONSE TO INTERROGATORY NO. 4:
18           Responding Party incorporates by reference the General Objection and
19     Preliminary Statement contained herein. Responding Party objects to the
20     interrogatory as vague and ambiguous as to the term “in detail” as the level of
21     “detail” is not specified. Responding Party objects to the interrogatory as
22     compound. Responding Party objects to this interrogatory as vague, ambiguous
23     and untimely as plaintiff has failed to specify the claims allegedly infringed.
24     Subject to and without waiving these objections and in the interest of compromise,
25     Responding Party responds as follows:
26           The documents relevant to claim construction are the ‘204 patent and its file
27     history and dictionary definitions for “cylinder” and “annular.”
28           Responding Party reserves the right to supplement this interrogatory as
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     plaintiff’s contentions are specified and in the event extrinsic evidence, if any, is
 2     deemed relevant to claim construction for the ‘204 patent. Responding Party
 3     anticipates that the following claim terms will be at issue:
 4        1.     Heat sink: A metal (cast aluminum, steel or iron alloy) passive heat
 5               exchanger conducive to dissipate heat of the light fixture via conduction.
 6               See ‘204 patent, Figs. 1-2, ref. #16 and Col. 5, ll. 42-48.
 7        2.     Cylindrical body: A body shaped like a cylinder, namely a three-
 8               dimensional surface or solid object bounded by a curved surface and two
 9               parallel circles of equal size at the ends. See ‘204 patent, Fig. 4, ref. #16.
10        3.     Annular surface: A surface forming or shaped like a ring. See ‘204
11               patent, Fig. 2, ref. #34 and Col. 4, lines 19-24.
12        4.     Heat dissipating and conductive material: Material that is the most
13               efficient for the thermal conduction of heat from the LED array, namely
14               cast aluminum, steel or iron alloys. See ‘204 patent, Col. 5, lines 42-48.
15        5.     Thermal conduction: The transfer of heat in and through a body, namely
16               through the heat sink from the LED array to the fins and flange. See ‘204
17               patent, Col. 5, lines 42-48.
18        6.     Radial flange: A flat surface shaped like a ring circumscribing the bottom
19               of the heat sink where the radii of the flange have a common center. See
20               ‘204 patent, Fig. 2, ref. #34 and Col. 4, lines 19-24.
21        7.     Light reflective surface: a portion of the trim ring coated with material to
22               reflect light from the LED array. See ‘204 patent, Fig. 7, ref. #58 and
23               Col. 6, ll. 5-12.
24        8.     Ceiling panel: A planar surface that separates the living space of the
25               room below it from the attic or air space above it where electrical cables,
26               insulation, and HVAC ducting are contained. See ‘204 patent, Fig. 3, ref.
27               #42 and Col. 4, ll. 25-31.
28        9.     Cylindrical shaped: A body shaped like a cylinder, namely a three-
                                                                Civil Case No. 14 CV 00881 JGB (SPx)
                                          DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                 PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1                 dimensional surface or solid object bounded by a curved surface and two
 2                 parallel circles of equal size at the ends. See ‘204 patent, Fig. 4, ref. #16.
 3        10.      Extending radially outward: Where a surface extends circularly outward
 4                 from a common center. See ‘204 patent, Fig. 2, ref. #34 and Col. 4, lines
 5                 19-24.
 6        11.      Reflector: a portion of the trim ring covered in light reflective material.
 7                 See ‘204 patent, Fig. 7, ref. #58 and Col. 6, ll. 5-12.
 8        12.      Light reflective material: a portion of the trim ring coated with material
 9                 to reflect light from the LED array. See ‘204 patent, Fig. 7, ref. #58 and
10                 Col. 6, ll. 5-12.
11        13.      Flat annular surface: A flat surface forming or shaped like a ring. See
12                 ‘204 patent, Fig. 2, ref. #34 and Col. 4, lines 19-24.
13        14.      Rare earth magnet: A neodymium or samarium-cobalt magnet. See ‘204
14                 patent, Col. 6, ll. 22-38.
15
16     INTERROGATORY NO. 5:
17              Explain in detail the design and development of the “Utilitec Pro LED
18     Recessed Retrofit Downlight” in 4-inch and 5- or 6-inch housing sizes (“the
19     Accused Products”) referred to in Paragraph 8 of the Complaint, including
20     identifying all individuals involved in the design and/or development process, and
21     including identifying any relevant documents including e-mails.
22     RESPONSE TO INTERROGATORY NO. 5:
23              Responding Party incorporates by reference the General Objection and
24     Preliminary Statement contained herein. Responding Party objects to the
25     interrogatory as vague and ambiguous as to the term “in detail” as the level of
26     “detail” is not specified. Responding Party objects to the extent the interrogatory
27     seeks information that constitutes confidential, privileged, proprietary, or trade
28     secret information and/or invades the privacy of a person not a party to this action.
                                                                  Civil Case No. 14 CV 00881 JGB (SPx)
                                            DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                   PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
                                                  -8-
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 1     Responding Party objects to the interrogatory as compound. Subject to and
 2     without waiving these objections and in the interest of compromise, Responding
 3     Party responds as follows:
 4           Responding Party identifies the following documents illustrating the
 5     development and design of the “Utilitec Pro LED Recessed Retrofit Downlight”.
 6     Yankon1 – Yankon10.
 7
 8     INTERROGATORY NO. 6:
 9           Identify the name and model number(s) of all Yankon products utilizing a
10     magnetically attractive material in a trim ring for a recessed lighting fixture,
11     including identifying any relevant documents including e-mails.
12     RESPONSE TO INTERROGATORY NO. 6:
13           Responding Party incorporates by reference the General Objection and
14     Preliminary Statement contained herein. Responding Party objects to the extent
15     the interrogatory seeks information that constitutes confidential, privileged,
16     proprietary, or trade secret information and/or invades the privacy of a person not a
17     party to this action. Responding Party objects to the interrogatory as compound.
18     Subject to and without waiving these objections and in the interest of compromise,
19     Responding Party responds as follows:
20           UTILITECH PRO, 4” and 5” or 6” models. Yankon6-10.
21
22     INTERROGATORY NO. 7:
23           Identify each officer, director, and managing agent—as those terms are used
24     in Fed. R. Civ. P. 30(b)(6)—of Yankon Industries, Inc. and Zhejiang Yankon
25     Group Co., Ltd., including particularly any individuals involved in the design,
26     development, marketing, licensing, or sales of the Accused Products, and including
27     identifying any relevant documents including e-mails.
28
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     RESPONSE TO INTERROGATORY NO. 7:
 2           Responding Party incorporates by reference the General Objection and
 3     Preliminary Statement contained herein. Responding Party objects to the extent
 4     the interrogatory seeks information that constitutes confidential, privileged,
 5     proprietary, or trade secret information and/or invades the privacy of a person not a
 6     party to this action. Responding Party objects to the interrogatory as compound.
 7     Subject to and without waiving these objections and in the interest of compromise,
 8     Responding Party responds as follows:
 9           Michael Chen, president of Yankon Industries, Inc.
10
11     INTERROGATORY NO. 8:
12           Explain in detail any testing of any heat sink materials, including identifying
13     all individuals involved in such testing, and including identifying any relevant
14     documents including e-mails.
15     RESPONSE TO INTERROGATORY NO. 8:
16           Responding Party incorporates by reference the General Objection and
17     Preliminary Statement contained herein. Responding Party objects to the extent
18     the interrogatory seeks information that constitutes confidential, privileged,
19     proprietary, or trade secret information and/or invades the privacy of a person not a
20     party to this action. Responding Party objects to the interrogatory as compound.
21     Subject to and without waiving these objections and in the interest of compromise,
22     Responding Party responds as follows:
23           Responding Party is not aware of any testing of heat sink materials.
24
25     INTERROGATORY NO. 9:
26           Explain in detail the factual basis for any contention that U.S. Patent No.
27     7,722,227 (“the ‘227 patent”) is both material and non-cumulative prior art to the
28     ‘204 patent, and including identifying any relevant documents including e-mails.
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
                                               - 10 -
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 1     RESPONSE TO INTERROGATORY NO. 9:
 2           Responding Party incorporates by reference the General Objection and
 3     Preliminary Statement contained herein. Responding Party objects to the extent
 4     the interrogatory seeks information that constitutes confidential, privileged,
 5     proprietary, or trade secret information and/or invades the privacy of a person not a
 6     party to this action. Responding Party objects to the interrogatory as compound.
 7     Subject to and without waiving these objections and in the interest of compromise,
 8     Responding Party responds as follows:
 9           The ‘227 patent identifies the elements of the claimed invention, particularly
10     the limitations identified in the notice of allowable subject matter, p. 2. Moreover,
11     the notice of allowable subject matter in the ‘227 patent file history states that the
12     prior art does not disclose, inter alia, a heat sink having a cylindrical body…
13     wherein a radial flange circumscribes the bottom of the heat sink and defines a flat
14     annular surface. See ‘227, Fig. 2, ref. nos. 52 and 58 and Col. 7, l. 55-Col. 8, l. 15.
15     The remaining limitations listed in the ‘204 file history notice of allowable subject
16     matter are also present in the ‘227 patent. Accordingly, the reference is material
17     and not cumulative per se.
18           Moreover, when further combined with Chinese Pat No. CN 201448704
19     (produced herewith), the claims of the ‘204 patent are invalid as obvious per §103.
20
21     INTERROGATORY NO. 10:
22           Explain in detail the factual basis supporting Yankon’s allegations of non-
23     infringement, including as stated in its First Affirmative Defense and in Paragraph
24     14 of the Counterclaim, including that they “have not infringed and do not infringe,
25     contribute to the infringement of, or actively induce others to infringe literally or
26     by the doctrine of equivalents any valid claim contained in the ‘204 Patent,” and
27     including identifying any relevant documents including e-mails.
28
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     RESPONSE TO INTERROGATORY NO. 10:
 2           Responding Party incorporates by reference the General Objection and
 3     Preliminary Statement contained herein. Responding Party objects to the extent
 4     the interrogatory seeks information that constitutes confidential, privileged,
 5     proprietary, or trade secret information and/or invades the privacy of a person not a
 6     party to this action. Responding Party also objects to this request as untimely as
 7     plaintiff has not identified the claims allegedly infringed and there has not been a
 8     claim construction of the claim terms. Accordingly, Responding Party reserves the
 9     right to modify its non-infringement position when the accusation and claim terms
10     are clarified. Responding Party objects to the interrogatory as compound. Subject
11     to and without waiving these objections and in the interest of compromise,
12     Responding Party responds as follows:
13           Responding Party does not sell, offer to sell, or import any product covered
14     by any claim of the ‘204 Patent. Additionally, the ’204 Patent is invalid as
15     anticipated or obvious in view of the prior art. Several claim elements are clearly
16     missing from the accused models. For example, the heat sink in both accused
17     models is not cylindrical. Compare with Fig. 4, ‘204 patent. Instead, it is clearly
18     conical in shape with sloped sides. The heat sink also does not comprise a flange
19     as required by each of the independent claims. Instead, the lower circumference of
20     the heat sink terminates at its fins and does not extend beyond. In contrast, the
21     specification of the ‘204 Patent discloses a “radial, annular flange 34 around the
22     circumference at its bottom.” Col. 4, ll. 17-19. The lower circumference of the
23     heat sink in the UTILITECH PRO models attaches, instead, to a non-conductive,
24     white plastic piece that does not dissipate heat. This plastic does not act as a heat
25     sink and, as shown in the bottom views attached, is not annular. Moreover, when
26     installed, the heat sink sits above the “surface” or “ceiling panel” and does not
27     extend below said surface or ceiling panel to meet the trim ring as required by the
28     claims and as shown in Figure 4 of the ‘204 patent. Instead, the trim ring of
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
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 1     accused device is attached to the plastic piece and not the heat sink. In contrast,
 2     the specification of the ‘204 patent discloses that “the heat sink 16, fins 50 and
 3     flange 34 are all preferably formed from one unitary piece” and identifies cast
 4     aluminum, steel and iron alloys as heat dissipating, conductive materials for these
 5     elements. See ‘204 patent, Col. 5, ll. 42-48. The accused trim ring also does not
 6     comprise a light reflective surface as disclosed by the ‘204 patent.
 7
 8     INTERROGATORY NO. 11:
 9           Explain in detail the factual basis supporting Yankon’s allegations of
10     invalidity, including as stated in its Second Affirmative Defense and in Paragraph
11     10 of the Counterclaim, including that “the ‘204 Patent is invalid for failure to
12     meet one or more of the provisions governing patentability under 35 U.S.C. § 100,
13     et seq., including without limitation being anticipated and or obvious in light of
14     U.S. Patent No. 7,722,227,” and including identifying any relevant documents
15     including e-mails.
16     RESPONSE TO INTERROGATORY NO. 11:
17           Responding Party incorporates by reference the General Objection and
18     Preliminary Statement contained herein. Responding Party objects to the extent
19     the interrogatory seeks information that constitutes confidential, privileged,
20     proprietary, or trade secret information and/or invades the privacy of a person not a
21     party to this action. Responding Party objects to the interrogatory as compound.
22     Responding Party also objects to this request as untimely as plaintiff has not
23     identified the claims allegedly infringed and there has not been a claim
24     construction of the claim terms. Accordingly, Responding Party reserves the right
25     to modify its invalidity position when the accusation and claim terms are clarified.
26     Subject to and without waiving these objections and in the interest of compromise,
27     Responding Party responds as follows:
28           The claims of the ‘204 patent are invalid as anticipated by the ‘227 patent as
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
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 1     each and every claim element is disclosed by the ‘227 patent. Moreover, the
 2     claims of the ‘204 patent are invalid as they are obvious under the ‘227 patent in
 3     view of the Chinese Pat. No. CN 201448704 (produced herewith) as each and
 4     every element of the claims is disclosed by the combination of these references.
 5
 6     INTERROGATORY NO. 12:
 7           Explain in detail the factual basis supporting Yankon’s allegations of
 8     inequitable conduct, including as stated in its Fourth Affirmative Defense and in
 9     Paragraphs 17-18 of the Counterclaim, including that “at the time of filing the
10     application for [the ‘204 patent], counterdefendant filed an Information Disclosure
11     Statement (IDS) that failed to disclose the existence of counterdefendant’s [‘227
12     patent which] was material to the examination of the application for the ‘204 patent
13     [and] anticipatory, and at a minimum, renders the claims of the ‘204 patent obvious
14     and thus invalid,” and that “counterdefendant, the named inventors, their attorneys
15     or others involved . . . violated 37 C.F.R. § 1.56 and their duty of candor to the
16     Patent and Trademark Office,” and including identifying any relevant documents
17     including e-mails.
18     RESPONSE TO INTERROGATORY NO. 12:
19           Responding Party incorporates by reference the General Objection and
20     Preliminary Statement contained herein. Responding Party objects to the extent
21     the interrogatory seeks information that constitutes confidential, privileged,
22     proprietary, or trade secret information and/or invades the privacy of a person not a
23     party to this action. Responding Party objects to the interrogatory as compound.
24     Subject to and without waiving these objections and in the interest of compromise,
25     Responding Party responds as follows:
26           Plaintiff was aware of the ‘227 Patent during prosecution of the ‘204 Patent.
27     The ‘227 Patent was not considered by the Patent Office and was not disclosed by
28     Plaintiff. As shown above, the ’227 Patent is material to the issue of patentability
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
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 1     to the ‘204 Patent, because it anticipates and/or renders obvious the ‘204 Patent.
 2     Plaintiff willfully withheld its knowledge of the foregoing to obtain issuance of the
 3     ‘204 Patent. In particular, Paul Feng was attorney of record for both the ‘227
 4     patent and the ‘204 patent yet failed to disclose the ‘227 patent during prosecution
 5     of the ‘204 patent. See MPEP §§ 2001.06(b) and 2004. Moreover, on information
 6     and belief, Mr. Feng failed to provide a notation to his files during prosecution of
 7     the ‘204 patent as to why the ‘227 patent was not being disclosed to the USPTO as
 8     required by the MPEP § 2004(18).
 9
10     INTERROGATORY NO. 13:
11           Explain in detail the factual basis supporting Yankon’s Third Affirmative
12     Defense alleging estoppel and laches, including identifying any relevant
13     documents including e-mails.
14     RESPONSE TO INTERROGATORY NO. 13:
15           Responding Party incorporates by reference the General Objection and
16     Preliminary Statement contained herein. Responding Party objects to the extent
17     the interrogatory seeks information that constitutes confidential, privileged,
18     proprietary, or trade secret information and/or invades the privacy of a person not a
19     party to this action. Responding Party objects to the interrogatory as compound.
20     Subject to and without waiving these objections and in the interest of compromise,
21     Responding Party responds as follows:
22           Responding Party alleges that plaintiff unreasonably delayed taking action
23     with respect to any patent-in-suit, leading to prejudice against Responding Party.
24
25     INTERROGATORY NO. 14:
26           Explain in detail the factual basis supporting Yankon’s Fifth Affirmative
27     Defense alleging unclean hands, including identifying any relevant documents
28     including e-mails.
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     RESPONSE TO INTERROGATORY NO. 14:
 2           Responding Party incorporates by reference the General Objection and
 3     Preliminary Statement contained herein. Responding Party objects to the extent
 4     the interrogatory seeks information that constitutes confidential, privileged,
 5     proprietary, or trade secret information and/or invades the privacy of a person not a
 6     party to this action. Responding Party objects to the interrogatory as compound.
 7     Subject to and without waiving these objections and in the interest of compromise,
 8     Responding Party responds as follows:
 9           Plaintiff’s inequitable conduct described above comprises its unclean hands.
10
11     INTERROGATORY NO. 15:
12           Explain in detail the factual basis supporting Yankon’s Sixth Affirmative
13     Defense alleging waiver and acquiescence, including identifying any relevant
14     documents including e-mails.
15     RESPONSE TO INTERROGATORY NO. 15:
16           Responding Party incorporates by reference the General Objection and
17     Preliminary Statement contained herein. Responding Party objects to the extent
18     the interrogatory seeks information that constitutes confidential, privileged,
19     proprietary, or trade secret information and/or invades the privacy of a person not a
20     party to this action. Responding Party objects to the interrogatory as compound.
21     Subject to and without waiving these objections and in the interest of compromise,
22     Responding Party responds as follows:
23           Responding Party alleges that plaintiff unreasonably delayed taking action
24     with respect to any patent-in-suit, leading to prejudice against Responding Party.
25
26     INTERROGATORY NO. 16:
27           Explain in detail any opinion, whether written or oral, provided by or to
28     Yankon regarding infringement, validity, enforceability and/or scope of the ‘204
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
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                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     patent, including the date of such opinion, the author(s) of such opinion, each
 2     recipient of each such opinion, the materials provided for use in the preparation of
 3     each such opinion, any documents embodying each such opinion, and the
 4     substance of each such opinion, and including identifying any relevant documents
 5     including e-mails.
 6     RESPONSE TO INTERROGATORY NO. 16:
 7           Responding Party incorporates by reference the General Objection and
 8     Preliminary Statement contained herein. Responding Party objects to the extent
 9     the interrogatory seeks information that constitutes confidential, privileged,
10     proprietary, or trade secret information and/or invades the privacy of a person not a
11     party to this action. Responding Party objects to the interrogatory as compound.
12
13     INTERROGATORY NO. 17:
14           Explain in detail the factual basis supporting or contradicting any objective
15     indicia of obviousness related to the ‘204 patent under the Graham test, including
16     any asserted commercial success, long-felt but unresolved need, failure of others,
17     or copying, including identifying any supporting or contradictory documents
18     including e-mails.
19     RESPONSE TO INTERROGATORY NO. 17:
20           Responding Party incorporates by reference the General Objection and
21     Preliminary Statement contained herein. Responding Party also objects to this
22     request as untimely as plaintiff has not identified the claims allegedly infringed and
23     there has not been a claim construction of the claim terms. Accordingly,
24     Responding Party reserves the right to modify its invalidity position when the
25     accusation and claim terms are clarified. Responding Party objects to the extent the
26     interrogatory seeks information that constitutes confidential, privileged,
27     proprietary, or trade secret information and/or invades the privacy of a person not a
28     party to this action. Responding Party objects to the interrogatory as compound.
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     Subject to and without waiving these objections and in the interest of compromise,
 2     Responding Party responds as follows:
 3           Defendants are unaware of any Graham evidence supporting
 4     nonobviousness for the claims of the ‘204 patent.
 5
 6     INTERROGATORY NO. 18:
 7           Describe in detail the level of ordinary skill in the art related to the ‘204
 8     patent, including identifying any supporting or contradictory documents including
 9     e-mails.
10     RESPONSE TO INTERROGATORY NO. 18:
11           Responding Party incorporates by reference the General Objection and
12     Preliminary Statement contained herein. Responding Party objects to the
13     interrogatory as vague and ambiguous as to the term “in detail.” Responding Party
14     objects to the extent the interrogatory seeks information that constitutes
15     confidential, privileged, proprietary, or trade secret information and/or invades the
16     privacy of a person not a party to this action. Responding Party also objects to this
17     request as untimely as plaintiff has not identified the claims allegedly infringed and
18     there has not been a claim construction of the claim terms. Thus, Responding
19     Party reserves the right to modify its position after claim construction. Responding
20     Party objects to the interrogatory as compound. Subject to and without waiving
21     these objections and in the interest of compromise, Responding Party responds as
22     follows:
23           An ordinary LED lighting designer for recessed LED lighting fixtures.
24
25     INTERROGATORY NO. 19:
26           Identify in detail the monthly sales of the Accused Products since 2008,
27     including the customer for each sale, units sold, gross revenues received, cost of
28     goods sold, and gross profits, and including identifying any relevant documents
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     including e-mails.
 2     RESPONSE TO INTERROGATORY NO. 19:
 3           Responding Party incorporates by reference the General Objection and
 4     Preliminary Statement contained herein. Responding Party objects to the extent
 5     the interrogatory seeks information that constitutes confidential, privileged,
 6     proprietary, or trade secret information and/or invades the privacy of a person not a
 7     party to this action. Responding Party objects to the interrogatory as compound.
 8     Subject to and without waiving these objections and in the interest of compromise,
 9     Responding Party responds as follows:
10           CONFIDENTIAL - ATTORNEYS EYES ONLY.
11           See Yankon271-280.
12
13     INTERROGATORY NO. 20:
14           Identify all entities or individuals with whom anyone from Yankon has
15     discussed any license or potential license to the ‘204 patent, the ‘227 patent
16     (referenced herein), or to any technology utilized in the Accused Products,
17     including identifying any relevant documents including e-mails.
18     RESPONSE TO INTERROGATORY NO. 20:
19           Responding Party incorporates by reference the General Objection and
20     Preliminary Statement contained herein. Responding Party objects to the extent
21     the interrogatory seeks information that constitutes confidential, privileged,
22     proprietary, or trade secret information and/or invades the privacy of a person not a
23     party to this action. Responding Party objects to the interrogatory as compound.
24     Subject to and without waiving these objections and in the interest of compromise,
25     Responding Party responds as follows:
26           None.
27
28
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     INTERROGATORY NO. 21:
 2           Explain in detail the factual basis supporting or contradicting any of the
 3     factors under the Panduit test for establishing lost profits related to the ‘204 patent,
 4     including identifying any supporting or contradictory documents including e-mails.
 5     RESPONSE TO INTERROGATORY NO. 21:
 6           Responding Party incorporates by reference the General Objection and
 7     Preliminary Statement contained herein. Responding Party objects to the extent
 8     the interrogatory seeks information that constitutes confidential, privileged,
 9     proprietary, or trade secret information and/or invades the privacy of a person not a
10     party to this action. Responding Party objects to the interrogatory as compound.
11     Responding Party objects to this request as prematurely seeking expert
12     testimony/opinions. Subject to and without waiving these objections and in the
13     interest of compromise, Responding Party responds as follows:
14           Plaintiff’s alleged claim for damages is a matter of expert analysis and
15     opinion, as set forth in Fed. R. Civ. P. 26, by the deadline specified therein.
16     Accordingly, this Interrogatory is premature.
17
18     INTERROGATORY NO. 22:
19           Explain in detail the factual basis supporting or contradicting any of the
20     factors under the Georgia Pacific test for establishing a reasonable royalty related
21     to the ‘204 patent, including identifying any supporting or contradictory documents
22     including e-mails.
23     RESPONSE TO INTERROGATORY NO. 22:
24           Responding Party incorporates by reference the General Objection and
25     Preliminary Statement contained herein. Responding Party objects to the extent
26     the interrogatory seeks information that constitutes confidential, privileged,
27     proprietary, or trade secret information and/or invades the privacy of a person not a
28     party to this action. Responding Party objects to the interrogatory as compound.
                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1     Responding Party objects to this request as prematurely seeking expert
 2     testimony/opinions. Subject to and without waiving these objections and in the
 3     interest of compromise, Responding Party responds as follows:
 4           Plaintiff’s alleged claim for damages is a matter of expert analysis and
 5     opinion, as set forth in Fed. R. Civ. P. 26, by the deadline specified therein.
 6     Accordingly, this Interrogatory is premature.
 7
 8     Dated: November 14, 2014                 MANDOUR & ASSOCIATES, APC
 9
10
11                                              Ben T. Lila (SBN 246808)
                                                Email: blila@mandourlaw.com
12                                              Attorneys for defendant,
13                                              YANKON INDUSTRIES, INC.
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                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1
 2
                                         VERIFICATION

 3
             I, Michael Chen, am president of Yankon Industries, Inc., a defendant in the

 4
       above captioned action. I declare under penalty of perjury under the laws of the

 5
       United States that the foregoing responses are true and correct.

 6
       Dated: October 9, 2014
 7                                              Michael Chen
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                                                               Civil Case No. 14 CV 00881 JGB (SPx)
                                         DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                                PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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 1                              CERTIFICATE OF SERVICE
 2           I hereby certify that on November 14, 2014, I served the foregoing
 3     DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO PLAINTIFF
 4     COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE) via email
 5     pursuant to the agreement to service via U.S. Mail and email on the following:
 6
 7           Paul Y. Feng (SBN 146889)
             pfeng@onellp.com
 8           John Lord (SBN 216111)
 9           jlord@onellp.com
             ONE LLP
10
             4000 MacArthur Blvd., East Tower, Suite 500
11           Newport Beach, California 92660
             Telephone: (949) 444-5677
12
             Facsimile: (949) 258-5081
13                                              By:
14                                              Ben T. Lila (SBN 246808)

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                                                              Civil Case No. 14 CV 00881 JGB (SPx)
                                        DEFENDANT YANKON INDUSTRIES INC.’S RESPONSE TO OF
                               PLAINTIFF COREDLIA LIGHTING, INC.’S INTERROGATORIES (SET ONE)
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                          EXHIBIT 4
Case 5:14-cv-00881-JGB-SP Document 40 Filed 03/30/15 Page 51 of 56 Page ID #:380


   From:            Michael Dellatorre
   To:              "James Keng"
   Cc:              "David Liu"; "Jessie King"; "Jim Yang"; "Irene Wang"
   Subject:         RE: Patent Discussion - Energetic Lighting
   Date:            Tuesday, September 10, 2013 10:38:17 AM



   James,
   I appreciate your comments below and looking forward to hearing from you in the near future.
   All the best!
   Michael Dellatorre
   General Sales Manager
   Energetic Lighting
   13445 12th Street
   Chino, CA. 91710

   (W) 866-492-6566 (2010)
   (M) 949-235-7092
   (F) 909-591-2448



   From: James Keng [mailto:jkeng@cordelia.com]
   Sent: Tuesday, September 10, 2013 10:13 AM
   To: 'Michael Dellatorre'
   Cc: 'David Liu'; Jessie King; Jim Yang; Irene Wang
   Subject: RE: Patent Discussion - Energetic Lighting

   Hi Michael,

   We will have internal discussion this week and will contact you early next week.

   Thanks,
   James

   From: Michael Dellatorre [mailto:mdellatorre@energeticlighting.com]
   Sent: Tuesday, September 10, 2013 9:53 AM
   To: jkeng@cordelia.com
   Cc: 'David Liu'
   Subject: RE: Patent Discussion - Energetic Lighting

   Hi James,
   Hope all is well. Just wanted to write and see if you have any time to talk with me over the next day
   or two and discuss the below issue. Please let me know a good time and I’ll phone you.
   Michael Dellatorre
   General Sales Manager
   Energetic Lighting
   13445 12th Street
   Chino, CA. 91710

   (W) 866-492-6566 (2010)
   (M) 949-235-7092
   (F) 909-591-2448

   Energetic Lighting is a manufacturer of energy efficient bulbs, lamps and fixtures.
   Since 1975, we have grown to seven factories in three countries.
   Our North American headquarters is in Chino, California, 40 miles east of Los Angeles.



                                                                                            CL000651
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   We are the original manufacturer of the stylish Energy Star rated LED 7.5 and 12 watt Tulip Bulb.
   Proud builder of the popular Big E Bulb Metal Halide Replacement Lamp.

   Making the World Brighter
   www.energeticlighting.com


   From: Michael Dellatorre [mailto:mdellatorre@energeticlighting.com]
   Sent: Monday, September 02, 2013 1:05 PM
   To: 'Jkeng@cordelia.com'
   Cc: 'David Liu'
   Subject: Patent Discussion - Energetic Lighting

   Dear Mr. Keng,

   I appreciated the time you spent with me on the phone discussing your current patent
   #US8,454,204B1. Energetic Lighting is interested in furthering talks with you to see if we can
   establish an agreement for the use of certain aspects of this patent. We are willing to negotiate
   with you or if you are interested in selling said patent . You mentioned you are out of town next
   week; please advise me when we would be able to discuss this matter, at your earliest convenience.
   Is it possible for us to visit you next week when you are back in town? Please let us know of your
   interest.   

   All the best




   Michael Dellatorre
   General Sales Manager
   Energetic Lighting
   13455 12th Street
   Chino, CA. 91710
   (w) 909-591-2345
   (m) 949-235-7092




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                          EXHIBIT 10
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                                       National Pavilion          Please input keyword                                           Advanced Search


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                                           ZHEJIANG YANKON GROUP CO., LTD.

                                                                                                                                                           Frequent Exhibitor



    Company Profile                           Booth No.


        Booth No.
                                                            Lighting Equipment                                 Phase 1      13.2A09­12, 13.2B13­16
        Company Info

        Briefing
                                                                                                                         Tips:    Map     Add by Scan QR Code
        Contact
                                              Company Info
    Products ShowRoom

                                                            Brand：                 YANKON
        Lighting Equipment [1]
                                                            Main Products:         energy saving lamps, LED LIGHTS, fixtures

    Scope of Business                                       Number of Staff:       More than 500

                                                            Registered Capital:    968060000 yuan (RMB)
       LED Lighting[7]

       LED Candle
                                                            Business Type:         Manufacturer

       LED bulb                                             Exhibition Records:    116,115,114,113,112
                                                            ( Last 5 Sessions)
       LED down light

       LED panel light                        Briefing
       LED spot light

       LED spot light

       LED spotlight
                                                                                                          Zhejiang Yankon Group Co., ltd is one of the largest
       Energy saving lamp[4]                                                                          civil manufacturers and export bases of energy saving
       Lighting accessory[1]                                                                          lamps, the sole non­governmental public company in
                                                                                                      China lighting industry, the national high­tech company
                                                   and the leading brand for China electrical lighting source manufacturing. The company now has over 7000
                                                   employees over 850 of which are technical members and owns the national technical center and doctor
                                                   scientific research working station. Yankon mainly contributes to the production of the energy saving
                                                   products, which includes integrated electronic energy saving lamps, PL energy saving lamps,T5 large power
                                                   energy saving fluorescent lamps and the accessories, indoor lamps, outdoor lamps, energy saving tube
                                                   lamps and all special kinds of lamps. Yankon products have obtained over 50 international standard
                                                   certificates required in the countries and regions such as USA, South­eastern Asia, Middle East, Hong Kong,
                                                   Macau, etc. Yankon products have been sold to all over the world and Yankon has established production
                                                   base in Vietnam and sails company in USA and Brazils. Yankon brand has been cognized China Top Brand
                                                   by China State Administration for Industry & Commerce in end of 2005. Thus, Yankon group becomes the
                                                   initial national high­tech enterprise in China lighting industry to have China Top Brand, China Exemption
                                                   From Inspection, China Famous Product and China Famous Export Brand. Yankon brand has been chosen
                                                   China Top 500 Most Valuable Brands continuously in three years and has broken through RMB 140 million in
                                                   brand value and ranks 354. China Brand Institute publicized 145 representing brands in 145 industries of
                                                   China in end of 2006. Yankon brand was chosen as the representing brand in China lighting industry. By far,
                                                   Zhejiang Yankon Group Co., Ltd has got the capacity of manufacturing 250 million pieces of energy saving
                                                   lamps, 10 million T5 fixtures and 6 million special fixtures annually and has become one of the largest
                                                   manufacturers of integra

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                                        Document    40GROUP CO.,03/30/15
                                                         Filed   LTD. ­ Exhibitors + Products
                                                                                Page     55 of 56 Page ID #:384

                                             Contacts


                                                         Company Name:            ZHEJIANG YANKON GROUP CO., LTD.

                                                         Address:                 485 FENGSHAN RD, SHANGYU, ZHEJIANG, P.R. CHINA

                                                         Province/City:           ZHEJIANGSHANGYU

                                                         Post Code:               312300

                                                         Website:                 http://www.yankon.com

                                                          Login to browse contacts.


                                                                      Log in using your account to browse exhibitors' contacts and customize
                                                                  features as mark your own favorites.




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 1                                       PROOF OF SERVICE
 2                     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3            I am employed in the County of Los Angeles, State of California. I am over the age
       of 18 and not a party to the within action; my business address is 9301 Wilshire Boulevard,
 4     Penthouse Suite, Beverly Hills, California 90210.
 5           On March 30, 2015, I caused DECLARATION OF STEPHEN M. LOBBIN IN
       SUPPORT OF CORDELIA'S MOTION FOR PRELIMINARY INJUNCTION to be
 6     served to be served by the method of service described as follows:
 7     JOSEPH A. MANDOUR, III
       Email: jmandour@mandourlaw.com
 8
       BEN T. LILA
 9     Email: blila@mandourlaw.com
       GORDON E. GRAY
10
       Email: ggray@mandourlaw.com
11     MANDOUR & ASSOCIATES, APC
       2030 Main Street, Suite 1300
12
       Irvine, CA 92614
13
       Attorneys for Defendants,
14
       ZHEJIANG YANKON GROUP CO., LTD.
15     and YANKON INDUSTRIES INC.
16           [X]    (BY EMAIL)
17           [X] (BY MAIL) I am “readily familiar” with the firm’s practice for collection and
       processing correspondence for mailing. Under that practice it would be deposited with the
18     U.S. Postal Service on that same day with postage thereon fully prepaid at Beverly Hills,
       California in the ordinary course of business. I am aware that on motion of the party
19     served, service is presumed invalid if postal cancellation date or postage meter date is more
       than one day after date of deposit for mailing in affidavit.
20
             [ ] (BY OVERNIGHT DELIVERY) I caused said envelope (s) to be delivered
21     overnight via an overnight delivery service in lieu of delivery by mail to the addressee (s).
22            [X] (FEDERAL) I declare that I am employed in the office of a member of the bar
       of their court at whose direction the service was made.
23
             Executed on March 30, 2015 at Beverly Hills, California.
24
25
26
27
                                                   By: Christina I. Rodriguez
28

                                          PROOF OF SERVICE
